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                                                                                                  MAR - 7 2022
                                                                                            Clerk, U.S. District & Bankruptcy
                                 UNITED STATES DISTRICT COURT                               Court for the District of Columbia
                                 FOR THE DISTRICT OF COLUMBIA

                                                                                            Case: 1:22−mc−00032
    JANE DOE,                                                                               Assigned To : Unassigned
                                                                                            Assign. Date : 3/7/2022
                            Plaintiff,                                                      Description: Misc.
                                                                    Civil Action No.
                            v.
                                                                    Chief Judge Beryl A. Howell
    DEPARTMENT OF JUSTICE, et al.,

                            Defendants.

                                   MEMORANDUM AND ORDER

        Plaintiff moves to proceed pseudonymously and to keep this case entirely sealed, Pl.’s

Sealed Mot. for Leave to File Case Under Seal and Proceed Under a Pseudonym (“Pl.’s

Mot.”), as she litigates her instant claim under the Freedom of Information Act, 5 U.S.C.

§552, et seq., seeking information from the Federal Bureau of Investigation (“FBI”) about the

agency’s investigation of an incident of domestic violence that occurred several years ago

involving plaintiff and her minor children as victims and witnesses. Pl.’s Mot. at 1. For the

reasons set forth below, plaintiff’s motion is granted with respect to her request to proceed

under pseudonym, and denied as to her request to seal the case, subject to any further

consideration by the United States District Judge to whom this case is randomly assigned. 1

I.       BACKGROUND

        Several years ago, while plaintiff, her then-husband, and their children, who were all

minors at the time, were traveling via private aircraft, the husband allegedly physically and

verbally assaulted plaintiff and the children, who have “experienced lasting physical and


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          See LCvR 40.7(f) (providing that the Chief Judge shall “hear and determine . . . motion[s] seal the
complaint, motion[s] to seal the address of the plaintiff, and motion[s] to file a pseudonymous complaint”); see
also LCvR 5.1(h)(1) (“Absent statutory authority, no case or document may be sealed without an order from the
Court.”).


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mental trauma as a result of the assault.” Pl.’s Mot. at 1–2. The FBI “opened an investigation

into the assault” but later, without advance notice to plaintiff or her children, “publicly

announced it was closing its investigation of the incident without further action.” Id. at 2.

Since then, plaintiff has filed several “FOIA request[s] on behalf of herself and her minor

children for the FBI’s investigative file” in hopes of “better understand[ing] the FBI’s

investigation and obtain[ing] information necessary for her children to receive medical care

and trauma counseling.” Id. Alleging that the responses she has received to her request are

legally insufficient, plaintiff has filed the instant suit challenging defendants’ withholding of

additional records. Id. Plaintiff seeks “to maintain the case under seal, and to proceed under

a pseudonym . . . in order to protect the privacy interests of herself and her minor children

who were witnesses to and victims of” this incident. Id. at 1.

II.    LEGAL STANDARD

       Generally, a complaint must state the names of the parties and address of the plaintiff.

FED. R. CIV. P. 10(a) (“The title of the complaint must name all the parties.”); F ED. R. CIV. P.

11(a) (requiring “[e]very pleading, written motion, and other paper,” including submissions

by an unrepresented party, to “be signed” with “the signer’s address, e-mail address, and

telephone number”); LC VR 5.1(c)(1) (“The first filing by or on behalf of a party shall have in

the caption the name and full residence address of the party,” and “[f]ailure to provide the

address information within 30 days of filing may result in the dismissal of the case against the

defendant.”); LCvR 11.1 (same requirement as LCvR 5.1(c)(1)). The Federal and Local

Rules thus promote a “presumption in favor of disclosure [of litigants’ identities], which

stems from the ‘general public interest in the openness of governmental processes,’ and, more

specifically, from the tradition of open judicial proceedings.” In re Sealed Case, 931 F.3d 92,




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96 (D.C. Cir. 2019) (internal citations omitted) (quoting Wash. Legal Found. v. U.S.

Sentencing Comm’n, 89 F.3d 897, 899 (D.C. Cir. 1996)). That “presumption of openness in

judicial proceedings is a bedrock principle of our judicial system.” In re Sealed Case, 971

F.3d 324, 325 (D.C. Cir. 2020) (citing Courthouse News Serv. v. Planet, 947 F.3d 581, 589

(9th Cir. 2020)). Accordingly, courts “generally require parties to a lawsuit to openly identify

themselves to protect the public’s legitimate interest in knowing all of the facts involved,

including the identities of the parties.” Id. at 326 (internal quotation marks and alterations

omitted) (quoting United States v. Microsoft Corp., 56 F.3d 1448, 1463 (D.C. Cir. 1995) (per

curiam)).

       Despite the presumption in favor of disclosure, the Federal Rules of Civil Procedure

provide a narrow set of circumstances in which a party or nonparty’s name or other personal

information may be redacted to protect privacy by limiting public access. See, e.g., FED. R.

CIV. P. 5.2 (a) (requiring, “[u]nless the court orders otherwise,” use of only initials for minors,

and only partial birthdates and social-security, taxpayer-identification, and financial account

numbers); FED. R. CIV. P. 5.2(e)(1) (authorizing court order, for good cause, to “require

redaction of additional information”).

       Courts also, in special circumstances, may permit a party to proceed anonymously. A

party seeking to do so, however, “bears the weighty burden of both demonstrating a concrete

need for such secrecy, and identifying the consequences that would likely befall it if forced to

proceed in its own name.” In re Sealed Case, 971 F.3d at 326. Once that showing has been

made, “the court must then ‘balance the litigant’s legitimate interest in anonymity against

countervailing interests in full disclosure.’” Id. (quoting In re Sealed Case, 931 F.3d at 96).

When weighing those concerns, five factors, initially drawn from James v. Jacobson, 6 F.3d




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233, 238 (4th Cir. 1993), serve as “guideposts from which a court ought to begin its analysis.”

In re Sealed Case, 931 F.3d at 97. These five factors are:

        (1) whether the justification asserted by the requesting party is merely to avoid the
        annoyance and criticism that may attend any litigation or is to preserve privacy in
        a matter of [a] sensitive and highly personal nature; (2) whether identification
        poses a risk of retaliatory physical or mental harm to the requesting party or[,]
        even more critically, to innocent non-parties; (3) the ages of the persons whose
        privacy interests are sought to be protected; (4) whether the action is against a
        governmental or private party; and relatedly, (5) the risk of unfairness to the
        opposing party from allowing an action against it to proceed anonymously.

Id. (citing James, 6 F.3d at 238).

        At the same time, a court must not simply “engage in a wooden exercise of ticking the

five boxes.” Id. Rather, the “balancing test is necessarily flexible and fact driven” and the

five factors are “non-exhaustive.” In re Sealed Case, 971 F.3d at 326. In exercising discretion

“to grant the ‘rare dispensation’ of anonymity . . . the court has ‘a judicial duty to inquire into the

circumstances of particular cases to determine whether the dispensation is warranted’ . . .

tak[ing] into account the risk of unfairness to the opposing party, as well the customary and

constitutionally-embedded presumption of openness in judicial proceedings.” Microsoft

Corp., 56 F.3d at 1464 (quoting James, 6 F.3d at 238 (other internal citations and quotation

marks omitted)).

        In addressing motions to file under seal records filed in a case, “[t]he starting point . . .

is a strong presumption in favor of public access to judicial proceedings.” Hardaway v. D.C.

Hous. Auth., 843 F.3d 973, 980 (D.C. Cir. 2016) (quoting EEOC v. Nat’l Children’s Ctr., Inc.,

98 F.3d 1406, 1409 (D.C. Cir. 1996)). Courts consider six factors, originally identified in

United States v. Hubbard, 650 F.2d 293 (D.C. Cir. 1980), in determining whether the strong
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presumption in favor of public access is overcome to remove the filing from public access.


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        Those factors are:


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When, however, a plaintiff initiating a lawsuit moves to file a case under seal simultaneously

with the filing of the complaint, the motion is more akin to a request to proceed under a

pseudonym, triggering the James test. In both contexts, plaintiffs are seeking to conceal their

identities from the public and thus the same interests are at stake.

III.     DISCUSSION

         At this early stage in the litigation, this Court is persuaded that plaintiff has met the

burden of showing that the privacy interests of her minor children outweigh the public’s

presumptive and substantial interest in knowing her identity and that of her children. The

public’s interest in plaintiff’s and her minor children’s identities is de minimis compared to

their significant privacy and security interests. Permitting plaintiff to proceed

pseudonymously is sufficient to protect these privacy interests, with only parts, as necessary,

of court filings sealed rather than the entire case. Thus, the grounds for plaintiff’s further

request to seal the case as an additional precaution are insufficient to rebut the “strong

presumption in favor of public access to judicial proceedings.” Hardaway, 843 F.3d at 980.

         First, as the description of plaintiff’s FOIA claim makes clear, plaintiff does not seek

to proceed under pseudonym “merely to avoid . . . annoyance and criticism,” but to “preserve

privacy in a matter of [a] sensitive and highly personal nature.” In re Sealed Case, 931 F.3d

at 97 (quoting James, 6 F.3d at 238). Plaintiff argues that pseudonymity is appropriate “to

protect her children from having the details of their assault and the subsequent information

they provided during a law enforcement investigation made public.” Pl.’s Mot. at 5. Masking


          (1) the need for public access to the documents at issue; (2) the extent of previous public access to the
          documents; (3) the fact that someone has objected to disclosure, and the identity of that person; (4) the
          strength of any property and privacy interests asserted; (5) the possibility of prejudice to those opposing
          disclosure; and (6) the purposes for which the documents were introduced during the judicial
          proceedings.
Metlife, Inc. v. Fin. Stability Oversight Council, 865 F.3d 661, 665 (D.C. Cir. 2017) (quoting Nat’l Children’s
Ctr., 98 F.3d at 1409 (citing Hubbard, 650 F.2d at 317–22)).


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plaintiff’s name will help ensure that her children will remain anonymous, and their “privacy

interests are intractably intertwined.” J.W. v. Dist. of Columbia, 318 F.R.D. 196, 199 (D.D.C.

2016). As plaintiff notes, in the past this Court has recognized the need “to prevent the public

airing of the abuse suffered by [plaintiffs’] minor charges . . . undeniably qualifies as a

‘sensitive and highly personal’ matter.” K.H. v. Dist. of Columbia, No. 19-cv-3124 (BAH),

2019 WL 11322514, at *2 (D.D.C. Oct. 18, 2019) (quoting In re Sealed Case, 931 F.3d at

97).

       Second, plaintiff has sufficiently alleged that disclosure of her identity “poses a risk of

retaliatory physical or mental harm to the requesting party or[,] even more critically, to

innocent non-parties.” In re Sealed Case, 931 F.3d at 97 (quoting James, 6 F.3d at 238).

Specifically, plaintiff explains that “the potential exposure of private details about the assault

and its impact on the children’s physical and mental health risks great harm to the children,”

who have already suffered from the assault itself. Pl.’s Mot. at 6. The risk to the minor

children is greater still due to plaintiff’s public status. Id. As such, “innocent non-parties”

would be affected by disclosure of plaintiffs’ identities and could face similar harm, as well.

In re Sealed Case, 931 F.3d at 97.

       The third James factor also weighs in favor of granting plaintiff’s motion, as serving

the interests of plaintiff’s minor children is cited as a key component of plaintiff’s suit and the

instant request. See In re Sealed Case, 931 F.3d at 97.

       The fourth James factor weighs slightly against granting plaintiff’s motion. Although

“there is a heightened public interest when an individual or entity files a suit against the

government,” In re Sealed Case, 971 F.3d at 329, as plaintiff has done here, nothing about

these proceedings creates any need for transparency with respect to plaintiff’s identity. Cf id.




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(describing public interest as particularly great where regulated entity sued government

agency regarding “special exemptions” from statutory obligations). Here, plaintiff seeks to

vindicate only her own rights, and those of her children, under FOIA, and anonymity appears

to be necessary to provide her the opportunity to do so.

       Finally, the defendants would suffer no “risk of unfairness” if plaintiff’s motion is

granted. See In re Sealed Case, 931 F.3d at 97 (quoting James, 6 F.3d at 238). Allowing

plaintiff to proceed under pseudonym will have no impact on any private rights, as the only

defendants are United States government agencies, see Compl. at 1, and “defendants will be

made fully aware of [plaintiff]’s identity, so there will be no risk of unfairness,” Pl.’s Mot. at

7. Nor will allowing the plaintiff to proceed anonymously compromise the defendants’ ability

to defend this action.

       In sum, weighed against the minimal apparent interest in disclosure, plaintiff’s

significant and “legitimate interest in anonymity” for her and her minor children, given the

alleged abusive conduct at issue, is more than sufficient at this early stage in the litigation to

overcome “countervailing interests in full disclosure.” In re Sealed Case, 931 F.3d at 97; see

also Horowitz v. Peace Corps, 428 F.3d 271, 278 (D.C. Cir. 2005) (“If there is no public

interest in the disclosure of certain information, ‘something, even a modest privacy interest,

outweighs nothing every time.’” (quoting Nat’l Ass’n of Retired Fed. Emps. v. Horner, 879

F.2d 873, 879 (D.C. Cir. 1989))).

       Plaintiff argues that the “dual relief” of sealing the case in addition to proceeding

under pseudonym is necessary to ensure plaintiff’s privacy rights and those of her minor

children are fully protected. Pl.’s Mot. at 7. Specifically, plaintiff asserts that pseudonymity,

alone, is insufficient “given that the complaint will necessarily reveal details from which the




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identities of [her] and the children will be readily apparent.” Id. The Court is unpersuaded

that this concern justifies plaintiff’s extraordinary request to “maintain the case under seal,”

Pl.’s Mot. at 1, given the “strong presumption in favor of public access to judicial

proceedings,” Hardaway, 843 F.3d at 980, which is “a bedrock principle of our judicial

system,” In re Sealed Case, 971 F.3d at 325. The extent of sealing requested here to litigate

plaintiff’s claim entirely under seal shielded from any public access is simply not warranted.

Plaintiff’s sole claim alleges that defendants failed to comply with FOIA and, as such, the

details of what plaintiff says occurred and then led her to file a FOIA request are essentially

superfluous in resolving whether defendants failed to fulfill their statutory obligations to

search for and disclose non-exempt records. To the extent specific filings merit sealing under

the Hubbard factors, plaintiff may seek permission to file those specific records under seal,

which decision shall be at the discretion of the District Court judge randomly assigned to this

case.

IV.     CONCLUSION AND ORDER

        For the foregoing reasons, it is hereby

        ORDERED that the plaintiff’s Sealed Motion for Leave to File Case Under Seal and

Proceed Under a Pseudonym is GRANTED IN PART and DENIED IN PART, subject to

any further consideration by the United States District Judge to whom this case is randomly

assigned; it is further

        ORDERED that the plaintiff’s request to proceed under pseudonym is GRANTED

and the plaintiff may proceed with the case using the pseudonym “Jane Doe;” it is further




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       ORDERED that the plaintiff’s motion to file the case under seal is DENIED, except

that the plaintiff may file a declaration containing her residence address under seal in

exception to D.D.C. LCvR 5.1(c); it is further

       ORDERED that the Clerk of the Court shall not file the Complaint on the docket nor

randomly assign the case to a United States District Judge until after the plaintiff is provided

the opportunity to revise her Complaint to remove any personal information that is not

essential to pursuing her claim for relief under FOIA; and it is further

       ORDERED that the defendants are prohibited from publicly disclosing the plaintiff’s

identity or any personal identifying information that could lead to the identification of

plaintiff or her children by nonparties.

       SO ORDERED.

       Date: March 7, 2022

                                                      __________________________
                                                      BERYL A. HOWELL
                                                      Chief Judge




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